Case 5:10-cr-00028-MFU           Document 248 Filed 11/05/12             Page 1 of 1      Pageid#:
                                           1586



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                              HARRISONBURG DIVISION

UNITED STATES OF AMERICA                      )       Civil Action No. 5:10-cr-00028-1
                                              )
v.                                            )       ORDER
                                              )
ANDREA CHARLTON,                              )       By:     Hon. Michael F. Urbanski
    Petitioner.                               )               United States District Judge

         In accordance with the accompanying Memorandum Opinion entered this day, it is

hereby

                                            ORDERED

that petitioner’s motion to vacate, set aside, or correct sentence, pursuant to 28 U.S.C. § 2255, is

DISMISSED; a certificate of appealability is DENIED; and the action is STRICKEN from the

active docket of the court.

         The Clerk is directed to send a copy of this Order and the accompanying Memorandum

Opinion to petitioner and counsel of record for the United States.

                                              Entered: November 2, 2012


                                              /s/ Michael F. Urbanski
                                              Michael F. Urbanski
                                              United States District Judge
